                IN THE UNITED STATES DISTRICT COURT FOR THE
                        MIDDLE DISTRICT OF TENNESSEE
                             NASHVILLE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )
                                                    )
v.                                                  )     Criminal No. 3:14-00179-7
                                                    )     Judge Trauger
JAMES THOMAS JOHNSON, JR.                           )

                                         ORDER

       The court held a hearing on March 24, 2015, on defense counsel’s Motion to Withdraw

(Docket No. 99). After ex parte communication with the defendant and defense counsel, it is

hereby ORDERED that the motion is DENIED. The court notes that this case is set for trial on

May 19, 2015.

       It is so ORDERED.

       ENTER this 24th day of March 2015.




                                                   ________________________________
                                                         ALETA A. TRAUGER
                                                           U.S. District Judge




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